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               UNITED STATES BANKRUPTCY COURT
               DISTRICT OF NEW JERSEY
               Caption in Compliance with D.N.J. LBR 9004-1(b)

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               In Re:                                                  Case No.:    22-11369 SLM

               SUSSEX RANDOLPH BUILDING, L.P.,                         Chapter:     11

                                Debtor.                                Judge:       Hon. Stacey L. Meisel

                                                                       Hearing:     June 28, 2022 at 11:00 a.m.


                              NOTICE OF MOTION FOR RELIEF FROM THE AUTOMATIC
                                       STAY PURSUANT TO 11 U.S.C. § 362(d)


                        PLEASE TAKE NOTICE that on June 28, 2022 at 11:00 a.m., or as soon thereafter as

              counsel may be heard, Valley National Bank (“VNB”), a secured creditor of Sussex Randolph

              Building, L.P. (the “Debtor”), by and through its attorneys, K&L Gates, shall move before the

              Honorable Stacey L. Meisel at the United States Bankruptcy Court for the District of New Jersey,

              50 Walnut Street, Third Floor, Newark, New Jersey 07101-1352, Courtroom 3A, for entry of an

              Order pursuant to 11 U.S.C. §362(d)(1), (d)(2), and (d)(3) granting VNB relief from the automatic

              stay under §362, effective immediately, and granting VNB such other relief as may be just and

              equitable and for such further relief as the Court deems just and proper (the “Motion”).

                        Your rights may be affected. You should read these papers carefully and discuss them

              with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

              you may wish to consult one.

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                     PLEASE TAKE FURTHER NOTICE that in support of the Motion, VNB shall rely

              upon the Application and the Supplemental Certification of David S. Catuogno in Support of the

              Motion annexed hereto, Proposed Order filed simultaneously herewith, as well as the prior

              Certification of David S. Catuogno dated April 18, 2022 (ECF Docket No. 38-2) in support of the

              relief sought.

                 PLEASE TAKE FURTHER NOTICE that in accordance with D.N.J. LBR 9013-2(a)(2),

              any opposition to the Motion must be filed with the Clerk of the Bankruptcy Court and served

              upon K&L Gates LLP, Attn.: David S. Catuogno, Esq., One Newark Center, 10th Floor, Newark,

              New Jersey 07102, at least seven (7) days before the hearing date of the Motion. You must also

              attend the hearing scheduled to be held on June 28, 2022, at 11:00 a.m. before the Honorable

              Stacey L Meisel, United States Bankruptcy Court, King Federal Building, 50 Walnut Street, Third

              Floor, Newark, New Jersey 07101-1352.

                 PLEASE TAKE FURTHER NOTICE that if you or your attorney do not take these steps,

              the Court may decide that you do not oppose the relief sought in the Motion or objection and may

              enter an Order granting that relief.

                 PLEASE TAKE FURTHER NOTICE that unless objections are timely filed, the Motion

              shall be decided on the papers in accordance with D.N.J. LBR 9013-3(d), and the relief requested

              may be granted without further notice or hearing.

                 PLEASE TAKE FURTHER NOTICE that pursuant to D.N.J. LBR 9013-3(a), in the event

              the Motion is contested, there is a duty to confer to determine whether a consent order may be

              entered disposing of the Motion or to stipulate to the resolution of as many issues as possible.




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                 PLEASE TAKE FURTHER NOTICE that in accordance with D.N.J. LBR 9013-3(e), unless

              the Court authorizes otherwise prior to the hearing date hereof, no testimony shall be taken at the

              hearing except by certification or affidavit.



                                                                          K&L Gates LLP

                                                                          Attorneys for Valley National Bank

                 Dated:      6/6/2022                                     By: /s/ David S. Catuogno
                                                                                  David S. Catuogno




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